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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )
       v.                           )   CRIMINAL ACTION NO.
                                    )     2:10cr186-MHT
MILTON E. McGREGOR,                 )         (WO)
THOMAS E. COKER,                    )
LARRY P. MEANS,                     )
JAMES E. PREUITT,                   )
HARRI ANNE H. SMITH, and            )
JARRELL W. WALKER, JR.              )


                                OPINION

       On the eve of the retrial in this public-corruption

case, the government moved for a gag order limiting what

the    parties’     trial   teams   could    state    to    the   media.

Rather than adopting the government’s proposed gag order,

the court required all attorneys to comply with Alabama

Rule        of   Professional   Conduct     3.6,     which     provides

guidelines for how lawyers should interact with the press

during criminal trials.         This case attracted substantial

media attention and the issue of a gag order was often

mentioned by attorneys and journalists.                    This opinion

explains the court’s ruling.
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                           I.    BACKGROUND

    Gambling has been a controversial political issue in

Alabama for years.         After a series of well-publicized

raids against casinos in 2008, the public debate became

particularly heated.         In early 2010, the Alabama State

Senate took up Senate Bill 380 (SB380), which would have

authorized a constitutional referendum on whether to

legalize electronic bingo.1

    The     government          alleged    that     the     defendants

participated in a bribery conspiracy to enact SB380.2

Although SB380 passed the Senate, the proposed referendum

stalled in the Alabama House of Representatives after the

government announced its corruption investigation.


    1.    Electronic bingo is a twenty-first century
version of the familiar game played in elementary schools
and fire halls around the country.     Rather than using
physical cards and markers, however, electronic bingo
machines digitize the experience while still pitting
players against one another to win a prize.
    2.   Given the numerous opinions already issued in
this case, the court assumes a certain familiarity with
the facts. For a thorough discussion of this litigation,
see United States v. McGregor, __ F. Supp. 2d __, 2011 WL
5025835 (M.D. Ala. Oct. 20, 2011).

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      Several months later, in October 2010, the government

unsealed its indictment against eleven defendants. Given

the political atmosphere, the indictment of two prominent

casino owners (Milton E. McGregor and Ronald E. Gilley)

and   four    state    senators    (Larry     P.    Means,    James      E.

Preuitt, Harri Anne H. Smith, and Quinton T. Ross, Jr.)

was widely covered throughout the State. Notwithstanding

the inherent newsworthiness of this case, both sides

helped amplify the coverage.

      The bulk of the government’s interactions with the

press came during the pretrial phase of this proceeding.

Assistant Attorney General Lanny Breuer held a press

conference at the Department of Justice in Washington,

D.C., to announce the indictment.                  When McGregor was

arrested at his home, someone tipped off the news media

about   the   event.       The    government       also   issued   press

releases when defendants Jarrod D. Massey and Gilley pled

guilty in December 2010 and April 2011, respectively.




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During and since the first trial, the government has

taken a more stoic approach.3

    Attorneys for McGregor, Smith, and Jarrell W. Walker,

Jr. were particularly vocal during the first trial.4                     On

a nearly daily basis, attorneys Joe Espy (McGregor), Jim

Parkman (Smith), and Susan James (Walker) would talk to

the press as they left the courthouse.                During these news

conferences,      the       attorneys     would       comment    on    the

credibility of the witnesses, discuss trial strategy, and

speculate as to the cooperating witnesses’ motives in

testifying.

    During      the     first      trial,     the      story     featured

prominently in local newspapers and newscasts.                        Local

media   developed       a   live   blog     and   a    Twitter   account



    3. However, the government issued a press release
when former Alabama state legislator Terry Spicer pled
guilty in November 2011. Spicer pled guilty to accepting
bribes from Massey and Gilley.       Spicer was not a
defendant in this case.

    4.   Ross’s attorneys also held press conferences,
but, as Ross was acquitted on all counts at the first
trial, he was not a defendant in the retrial.

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dedicated to the trial.               Updates concerning the trial

were posted on an almost minute-by-minute basis.

       One particular revelation at the first trial garnered

national        media     attention.            In     conducting       its

investigation, the FBI gave State Senator Scott Beason a

wire to wear during his meetings with the defendants.

Beason, however, kept the recording device running while

talking    to    members       of   the    Alabama   Republican   Party.

During Beason’s cross-examination at the first trial, it

was revealed that Beason and other Republican politicians

were    recorded       making       racist   statements      directed    at

Africa-American voters. See McGregor’s Brief (Doc. No.

2168) at 9 n.5; United States v. McGregor, __ F. Supp. 2d

__, 2011 WL 5025835, *2 to *5 (M.D. Ala. Oct. 20, 2011).

       Because    of    this    media      presence,   the    court   took

special care to minimize jurors’ exposure to the media.

A designated area outside the courthouse was established

for the media.          The jurors were instructed to enter and

exit the courthouse through an entrance on the other side



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of the building.       The court also set up an over-flow room

where journalists could watch the court proceedings via

closed-circuit video; no televised images of the trial

aired publicly.        Once the jury panel was selected, the

court   issued     preliminary      jury    instructions       ordering

jurors scrupulously to avoid media coverage of the trial.

    At the conclusion of the first trial, the jury found

two defendants not guilty on all counts.                For the other

seven defendants, the jury found them not guilty on some

counts,   but    was    unable    to   reach    a   verdict     on   the

remaining counts.

    In the six months between the first trial and the

retrial, the case remained a prominent feature of Alabama

politics.    McGregor points out that State Senator Beason

has cited his participation in the case in his primary

campaign to unseat an incumbent member of the United

States House of Representatives. McGregor also submitted

mass-mailings sent out by religious organizations; while

the general thrust of these fliers is anti-gambling, the



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trial is referenced as evidence of gambling’s corruptive

nature.    For its part, the government was concerned about

defense counsel’s comments to the media regarding whether

Beason and other government witnesses would testify at

the retrial.5

     For the retrial, voir dire focused extensively on

potential jurors’ knowledge of the first trial.                       The

court also adopted the first trial’s practices regarding

the media and jury sequestration.            The retrial ended with

the jury acquitting the six remaining defendants.



             II.    GOVERNMENT’S PROPOSED GAG ORDER

     Shortly before the retrial, the government moved for

a   gag   order,    which    proposed     that    “apart    from    court

hearings or filings, no participating attorney or any

member of their trial team shall make any extrajudicial



    5.   The day before the retrial was scheduled to
begin, defendant Joseph R. Crosby died of natural causes.
The court delayed the retrial for a week, until February
6, 2012. Crosby’s untimely death sparked even more media
coverage of the case.

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comments about this case which a reasonable person would

believe could be publicly disseminated.” Proposed Gag

Order (Doc. No. 2145-1) at 3.              By its terms, the order

placed no limits on the defendants themselves.                 The order

would also have not limited the media’s reporting on the

trial.

    The       government’s      proposal     did      have   exceptions,

however.      The gag order did not “apply to statements that

disseminate information regarding scheduling matters or

other materials that are a part of the public record, so

long as those statements are limited to bare facts as

opposed       to   opinions,    questions,      or    commentary.”    Id.

Thus,    the       attorneys   could     inform      the   press   that   a

specific witness would be testifying the next day or

direct the press to examine a recent filing.



                    III.   STANDARD FOR A GAG ORDER

    A gag order is a prior restraint on speech and, as

such,    is    “the    most    serious    and   the    least   tolerable



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infringement on First Amendment rights.”               Nebraska Press

Ass’n v. Stuart, 427 U.S. 539, 559 (1976).                    With the

specter of an “immediate and irreversible sanction,” a

prior restraint not only “chills” speech, it “‘freezes’

it at least for the time.”              Id.    Accordingly, “[a]ny

system of prior restraints of expression ... bear[s] a

heavy presumption against its constitutional validity.”

New York Times Co. v. United States, 403 U.S. 713, 714

(1971) (per curiam).

    “The exercise of First Amendment rights, however, can

sometimes imperil the administration of fair criminal

trials.”     United States v. Carmichael, 326 F. Supp. 2d

1267, 1291 (M.D. Ala. 2004) (Thompson, J.).                   As such,

“[a]lthough     litigants      do   not    surrender     their     First

Amendment rights at the courthouse door, those rights may

be subordinated to other interests that arise” during a

criminal trial.      Seattle Times Co. v. Rhinehart, 467 U.S.

20, 32 n.18 (1984) (internal quotation marks and citation

omitted).



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       The paradigmatic example of a clash between the First

and     Sixth    Amendments       occurs    when    trial     publicity

prejudices a defendant.            See Stuart, 427 U.S. at 547-48

(noting that this tension first arose in American history

during the trial of the British soldiers involved in the

Boston Massacre).          As the Supreme Court has explained:

“Due process requires that the accused receive a trial by

an impartial jury free from outside influences.                   Given

the    pervasiveness       of    modern    communications      and   the

difficulty of effacing prejudicial publicity from the

minds of the jurors, the trial courts must take strong

measures to ensure that the balance is never weighted

against the accused.”           Sheppard v. Maxwell, 384 U.S. 333,

362 (1966).      Although most cases of pretrial publicity

concern prejudice to the defendant, the “concept of a

fair    trial    applies    both    to    the   prosecution    and   the

defense.”       United States v. Tijerina, 412 F.2d 661, 666

(10th Cir. 1969).       See also Carmichael, 326 F. Supp. 2d

at 1291 (“While the Sixth Amendment does not explicitly



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protect the government, the government still has a strong

interest in a fair trial.”).6

      To safeguard these Sixth Amendment rights to a fair

trial, courts have issued gag orders against defendants,

trial   attorneys,     and   even      the   press   itself.       Thus,

despite     the   constitutional        presumption      against     gag

orders, they are not unprecedented.                See, e.g., United

States v. Brown, 218 F.3d 415 (5th Cir. 2000) (upholding

gag order against trial participants).

      Here, the government sought a prior restraint against

only the parties’ attorneys.            Neither the Supreme Court

nor   the   Eleventh    Circuit     Court     of   Appeals   has    ever

directly decided the appropriate standard for a gag order

imposed on attorneys in an ongoing criminal trial.                   See

The News-Journal Corp. v. Foxman, 939 F.2d 1499, 1515-16



    6. Some courts have taken a different approach and
discounted the government’s interest in a fair trial when
the defendant instigates the publicity.       See United
States v. Ford, 830 F.2d 596, 600 (6th Cir. 1987) (“To
the extent that publicity is a disadvantage for the
government, the government must tolerate it.          The
government is our servant, not our master.”).

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(11th Cir. 1991) (declining to resolve issue on Younger

abstention grounds);        United States v. Scrushy, 2004 WL

848221, *2 (N.D. Ala. Apr. 13, 2004) (Bowdre, J.) (noting

the uncertainty in this area of law).             Nevertheless, two

Supreme Court decisions provide guidance on this issue.

    In Nebraska Press Ass’n v. Stuart, 427 U.S. 539

(1976),   the    trial    court    issued    a   gag   order     against

members of the press.           The trial court’s goal was to

abate prejudicial reporting against a defendant charged

with committing multiple homicides in a rural, small

town.     In vacating the gag order, the Supreme Court

looked    to   four   factors:     “the     nature     and    extent     of

pretrial coverage”; “whether other measures would be

likely to mitigate the effects of unrestrained pretrial

publicity”; “how effectively a restraining order would

operate   to    prevent   the     threatened     danger”;      and   “the

precise terms of the restraining order.”                     Id. at 562.

Courts have read Stuart as establishing that there must

be a “clear and present danger” of prejudice before a



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court may issue a prior restraint against the media.

Ford, 830 F.2d at 598.

       In Gentile v. State Bar of Nevada, 501 U.S. 1030

(1991), a defense attorney was punished by a state bar

for making extrajudicial comments.              Borrowing a standard

from the bar rules of over 30 States and the American Bar

Association (ABA), id. at 1068, the Supreme Court held

that    the   appropriate    standard     for    the   punishment        of

attorney speech was whether it presented a “substantial

likelihood of material prejudice.”               Id. at 1075. Thus,

regulating attorney speech requires a “less demanding

standard than that established for regulation of the

press in Nebraska Press Assn. v. Stuart.” Id. at 1074.

The Court also required that any bar disciplinary rules

be narrowly tailored.        Id. at 1075-76.

       The question, then, is which standard applies to a

prior restraint issued against trial attorneys.                  On the

one hand, Stuart mandates a “clear and present danger”

standard for cases involving prior restraint and the



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media.        On the other hand, Gentile establishes a lower

standard for punishing attorneys after the fact.

       The Circuit Courts of Appeals are divided over this

issue.        The Sixth, Seventh, and Ninth Circuits have

adopted the “clear and present danger” standard.                        See

Ford, 830 F.2d at 598; Levine v. U.S. District Court, 764

F.2d 590, 595 (9th Cir. 1985); Chicago Council of Lawyers

v.    Bauer,     522   F.2d    242,     249   (7th     Cir.   1975).        By

contrast, the Third and Fifth Circuits have adopted the

“substantial likelihood of material prejudice” standard.

See United States v. Scarfo, 263 F.3d 80, 94 (3d Cir.

2001); Brown, 218 F.3d at 427.                Finally, the Fourth and

Tenth Circuits have adopted a “reasonable likelihood” of

prejudice standard.           See In re Russell, 726 F.2d 1007,

1010 (4th Cir. 1984); Tijerina, 412 F.2d at 666.

       This    court    itself    has      addressed    the   appropriate

standard for issuing a gag order against a defendant.

In Carmichael, a criminal defendant posted a website and

bought a newspaper advertisement seeking information on



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potential witnesses and government informants. The court

reasoned: “The fact that the protective order in this

case would burden only the defense calls for a higher

threshold standard of proof.”           Carmichael, 326 F. Supp.

2d at 1294.        Thus, the court adopted the clear and

present danger standard as the requisite standard of

proof.    Id.      This court incorporated that threshold

showing into the four-part Stuart test and ultimately

rejected the government’s gag order.             Id. at 1301.

    Here, for several reasons, the court found that

Gentile’s “material likelihood of substantial prejudice”

standard controlled.        First, the gag order was directed

at all attorneys in the case; it was not one-sided.                  The

gag order did not apply to the media or the defendants

themselves.      This salient fact distinguished this gag

order from those rejected in Stuart and Carmichael.                 Most

importantly, the media was still able to attend the trial

and report on public proceedings.




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    Second, the circuit courts that have adopted the

“clear and present danger” standard did so before the

Supreme   Court    articulated      the   less-demanding        Gentile

test. See Brown, 218 F.3d at 427.                  These decisions’

precedential value, therefore, has been significantly

undermined by intervening Supreme Court authority.                   Cf.

Randall v. Scott, 610 F.3d 701, 707 (11th Cir. 2010)

(discussing how an intervening Supreme Court decision

permits the overruling of circuit precedent).

    Third,     Gentile     contains       strong    language      about

attorneys’ obligations as agents of the court.                      See,

e.g., Gentile, 501 U.S. at 1074 (“Lawyers representing

clients in pending cases are key participants in the

criminal justice system, and the State may demand some

adherence to the precepts of that system in regulating

their speech.”).        The Gentile Court justified a less-

rigorous standard because an attorney is an agent of the

court, not because the restriction at issue was a post-

hac disciplinary proceeding instead of a prior restraint.



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       Fourth, Gentile explicitly adopted its standard from

the     majority       of   state       bar        associations’         codes       for

attorney conduct with the press during trials.                                  These

rules impose significant restrictions on attorney speech

notwithstanding any court-imposed limitations.                                Alabama

has a similar rule of professional conduct--which will be

discussed in more detail below–-and the attorneys in this

litigation were expected to abide by it.

       Thus, a court should issue a gag order only if (1)

the attorneys’ speech presents a substantial likelihood

of    material      prejudice           to        the    proceedings;         (2)    the

proposed      protective          order       is        narrowly      tailored;      (3)

alternatives        to      the    protective             order       would    not    be

effective;       and     (4)      the   order           would    be    effective      in

achieving the government’s goal.                         Cf.    Carmichael, 326 F.

Supp. 2d at 1294 (adopting a similar four-factor test but

with a “clear and present danger” standard because the

defendant’s speech was at issue).




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                            IV.    DISCUSSION

       Prior     restraints       are        not   the   only    means      of

restricting an attorney’s extrajudicial remarks.                       Rules

of     professional       conduct       have       regulated     the   bar’s

relationship with the press since the Alabama Code of

1887, which was “the first official code of legal ethics

promulgated in this country.”                Gentile, 501 U.S. at 1066.

When it adopted the ABA’s “substantial likelihood of

material prejudice” standard, the Gentile Court endorsed

these      professionally         developed        rules   for     attorney

conduct.

       Alabama Rule of Professional Conduct 3.6 regulates

“trial publicity.”          As the Alabama Bar explained when it

adopted the rule: “Preserving the right to a fair trial

necessarily entails some curtailment of the information

that may be disseminated about a party prior to trial,

particularly where trial by jury is involved.                      If there

were no such limits, the result would be the practical

nullification of the protective effect of the rules of



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forensic decorum and the exclusionary rules of evidence.”

Ala. R. Prof. Conduct 3.6 Comments.            Rule 3.6 mirrors the

ABA rules discussed in Gentile.

    Rule 3.6 has a tripartite structure.                  Rule 3.6(a)

delineates    the    general     prohibition      on   extrajudicial

remarks:

           “(a) A lawyer shall not make an
           extrajudicial     statement     that    a
           reasonable person would expect to be
           disseminated    by   means   of    public
           communication if the lawyer knows or
           reasonably should know that it will have
           a substantial likelihood of materially
           prejudicing an adjudicative proceeding.”

    Rule 3.6(b) then provides examples of comments that

are “ordinarily” “likely” to result in “a substantial

likelihood of materially prejudicing” a criminal trial:

           “(1)   the    character,    credibility,
           reputation or criminal record of a
           party,    suspect    in    a    criminal
           investigation   or   witness,   or   the
           identity of a witness, or the expected
           testimony of a party or witness;

           “(2) in a criminal case or proceeding
           that could result in incarceration, the
           possibility of a plea of guilty to the
           offense or the existence or contents of


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          any confession, admission, or statement
          given by a defendant or suspect or that
          person's refusal or failure to make a
          statement;

          ...

          “(4) any opinion as to the guilt or
          innocence of a defendant or suspect in
          a criminal case or proceeding that could
          result in incarceration;

          “(5) information the lawyer knows or
          reasonably should know is likely to be
          inadmissible as evidence in a trial and
          would if disclosed create a substantial
          risk of prejudicing an impartial trial;
          or

          “(6) the fact that a defendant has been
          charged with a crime, unless there is
          included therein a statement explaining
          that the charge is merely an accusation
          and that the defendant is presumed
          innocent   until   and  unless   proven
          guilty.”

    Next, Rule 3.6(c) provides a “safe harbor” provision

that allows attorneys to make certain factual statements

about pending litigation.        Under Rule 3.6(c), an attorney

may “state without elaboration”:

          “(1) the general nature of the claim or
          defense;



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        “(2) the information            contained    in    a
        public record;

        “(3) that an investigation of the matter
        is in progress, including the general
        scope of the investigation, the offense
        or claim or defense involved and, except
        when prohibited by law, the identity of
        the persons involved;

        “(4) the scheduling or result of any
        step in litigation;

        “(5) a request for assistance in
        obtaining   evidence and information
        necessary thereto;

        “(6) a warning of danger concerning the
        behavior of a person involved, when
        there is reason to believe that there
        exists the likelihood of substantial
        harm to an individual or to the public
        interest; and

        “(7) in a criminal case:

        (i) the identity, residence, occupation
        and family status of the accused;

        (ii) if the accused has not been
        apprehended, information necessary to
        aid in apprehension of that person;

        (iii) the fact,          time    and   place      of
        arrest; and




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              (iv) the identity of investigating and
              arresting officers or agencies and the
              length of the investigation.”

       Finally, Rule 3.6(c)(8), which was added in 2008,

authorizes attorneys to respond to trial publicity:

              “(8) Notwithstanding paragraphs (a) and
              (b) above, a lawyer may make a statement
              that a reasonable lawyer would believe
              is required to protect a client from the
              substantial undue prejudicial effect of
              recent publicity not initiated by the
              lawyer or the lawyer's client. A
              statement   made    pursuant   to   this
              paragraph shall be limited to such
              information as is necessary to mitigate
              the recent adverse publicity.”

       Rule    3.6   is    particularly    instructive    because        an

“attorney’s ethical obligations to refrain from making

prejudicial comments about a pending trial will exist

whether a gag order is in place or not.”             Brown, 218 F.3d

at 428.        With this background in mind, the court used

Rule    3.6    as    a    guidepost   in   determining   whether     the

attorneys’ comments made during the first trial satisfied

the Gentile standard.




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      A.   Substantial Likelihood of Material Prejudice

      The Supreme Court has instructed that gag orders

address    “two   principal     evils:    (1)    comments    that    are

likely to influence the actual outcome of the trial, and

(2)   comments    that   are   likely     to    prejudice    the    jury

venire, even if an untainted panel can ultimately be

found.”     Gentile, 501 U.S. at 1075.            Because this case

was discussed publicly for nearly two years and the gag

order was requested only 10 days before the scheduled

start of the retrial, the court focused on the former

“evil.”    Further comments were unlikely to taint the jury

venire,    the    questioning      of    which    was    particularly

searching.

      In support of its gag order, the government provided

lengthy quotes from the defendants’ press conferences

during the first trial.           The comments had a unifying

theme: the defendants’ attorneys sought to discredit the

government’s witnesses in the eyes of the public.                        To

take a few examples:



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  ! “This is the kind of a comment, I heard up in the
  courthouse, somebody said, How can you tell
  [Gilley’s] testifying falsely? And they said, His
  lips are moving, aren’t they.” Doc. No. 2145, Ex. 3
  (Espy).

  ! “When [lobbyist Jennifer Pouncy] initially talked
  with the government, the things she talked then when
  they where fresh in her mind, today are not fresh in
  her mind and they contradict what she said earlier.”
  Doc. No. 2145, Ex. 5 (Espy).

  ! “Is Scott Beason a credible witness? No. Do you
  think he is? No. Not at all. Those days are gone.”
  Doc. No. 2145, Ex. 2 (Parkman).

  ! “I’m not sure God himself could rehabilitate
  [Beason].” Doc. No. 2145, Ex. 2 (Parkman).

  ! “If [Gilley’s] going to not spend twenty years in
  the penitentiary, he’s got to make the prosecution
  happy and there’s not but one way to make the
  prosecution happy, and that’s to put it on Mr.
  McGregor and the other defendnats as hard and as
  strong as he can.” Doc. No. 2145, Ex. 3 (Espy).

  ! “I think the most interesting thing of the whole
  day was the hesitation on the government’s part when
  they were asked if they were gonna put Massey on the
  stand. I think that was the key of the whole day.
  The hesitation and the hiccup.” Doc. No. 2145, Ex.
  3 (Espy).

  ! “[The juror’s note is] just a sign of what one
  person thought and raised, you know, but if one
  person saw that early enough, they’re at least
  questioning, I think the propriety of the case, and


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      they had to have gotten that from the tapes.” Doc.
      No. 2145, Ex. 10 (James).

      The   defendants’    attorneys’      comments     fit    squarely

within the list of “ordinarily” prejudicial statements.

In particular, defense counsel opined on the credibility

of witnesses and speculated as to the government’s trial

strategy    and   jury    deliberations.         Defense      counsel’s

statements    also    fall    outside     the    narrow    exceptions

provided in the notwithstanding clause.               The frequency,

intensity, and ubiquity of defense counsel’s remarks made

it far more probable that the jury would become aware of

the extrajudicial comments. Given these considerations,

the   government     satisfied    the    prejudice     prong    of   the

Gentile test.

      The defendants asserted that their comments fall

within Rule 3.6(c)(8)’s exception for comments made to

respond to trial publicity that was not “not initiated by

the lawyer or the lawyer's client.”                   The court was

unpersuaded by this argument for two reasons.




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      First, the text, structure, and purpose of Rule 3.6

concerns extrajudicial statements. See, e.g., Rule 3.6(a)

(“A      lawyer    shall      not        make    an    extrajudicial

statement....”)      (emphasis      added).      Defense     counsel’s

remarks to the media were made after events as they

occurred during the first trial.                If Rule 3.6(c)(8)’s

right-to-respond was expanded to include extrajudicial

rebuttals to in-court testimony, the results would be

absurd.    For instance, the Rule specifically limits the

right-to-respond to “publicity” not “initiated” by the

defendants or their attorneys.            But defense counsel often

commented on testimony that they had elicited during

cross-examination.         The controversial remarks by Scott

Beason are the most prominent example from the first

trial.    Put simply, in-court testimony is not “publicity”

for purposes of Rule 3.6.        A right-to-respond to in-court

testimony would eviscerate Rule 3.6 by allowing every

defense attorney to “respond” to any witness testimony

with a news conference.        In-court proceedings (including



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cross-examination of witnesses and arguments to the jury

and the judge) are, in general, the proper venue and

means for responding to events in court.

      To be clear, a defendant has a right-to-respond to

extrajudicial comments made by a non-party and a non-

witness.   Here, McGregor has provided a perfect example:

Religious organizations sent mass-mailings criticizing

gambling and citing the trial as an example of gambling’s

corruptive effect.         Under Rule 3.6, McGregor and his

attorneys had a right-to-respond to such comments.

    Second, defense counsel’s rebuttals went well beyond

that contemplated by Rule 3.6(c)(8), which requires that

a “statement made pursuant to this paragraph shall be

limited to such information as is necessary to mitigate

the recent adverse publicity.” Defense counsel’s comment

that government witnesses could not be rehabilitated by

“God himself,” Doc. No. 2145, Ex. 2 (Parkman), is an

opinion, not the type of factual information protected by

Rule 3.6(c)(8).



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    B.    Narrowly Tailored

    The government’s proposed gag order was narrowly

tailored in two respects.          First, the gag order applied

only to the attorneys and trial team members, not to the

media or the defendants themselves.               This is a crucial

distinction     and    the     reason     why     the    “substantial

likelihood of material prejudice” standard applies.

    Second, the proposed order was not a “no comment”

rule.     Under the government’s proposed gag order, the

attorneys were still allowed to provide “bare facts” to

the media about scheduling issues and court filings.                     As

government    counsel     conceded      during    an     on-the-record

conference, a defense attorney would be free to stand

outside the courthouse and read from a filed motion or a

transcript of a witnesses’ testimony.



    C.    Least Restrictive Alternative

    The    government      could    not    show    why    other     less

restrictive means were insufficient.              The familiar list



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of      alternative          options        include:    continuing          or

transferring        the      case;     sequestration     of   the    jury;

extensive voir dire; and emphatic jury instructions.                    See

Gentile, 501 U.S. at 1075; Brown, 218 F.3d at 430-31.

Neither party requested a continuance or change-of-venue

due to trial publicity.

       As to jury sequestration, the government claimed that

it was amenable to this option as an alternative to the

gag order.       But the sequestration of a jury for what was

scheduled to be a two-month trial was a particularly

harsh     antidote      to    the    problem     of    publicity.       The

imposition of such a lengthy sequestration on everyday

citizens should be used only as a last resort.

       Regarding voir dire and jury instructions, the court

found that these options mitigated the need for a gag

order.      Given this case’s prominence in Alabama politics

for the past two years and the reporting surrounding the

first trial, voir dire was especially searching.                    Once an

untainted panel was seated, the court reiterated its jury



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instructions from the first trial about avoiding trial

publicity.

    Finally, and most importantly, the court found that

attorney adherence to Rule 3.6 was a less restrictive

alternative to the government’s proposed gag order.                  The

government sought to limit attorneys to “bare facts”

discussions with the media.            The government’s gag order

would have been backed up by the threat of court sanction

if it was violated.            By contrast, adherence to the

Alabama    Rules   of   Professional       Conduct    provided      some

leeway.    Rule 3.6(b) provides a list of statements that

are “ordinarily” “likely” to violate Rule 3.6(a).                    But

Rule 3.6(b) creates only a rebuttable presumption.                   For

example,     because    the    jury     was    sequestered       during

deliberations, extrajudicial comments made to the media

would carry less risk of prejudice than if the jurors

were free to read the newspaper at home.




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      D.    Effectiveness

      The    court   further     notes       that   the     government’s

proposed gag order was unlikely to be effective.                 Even in

the absence of a news conference on the courtroom steps,

the media still camped outside the courthouse, reported

daily on the proceedings, and continued the live blog of

the witness testimony.          This litigation concerned issues

too salient to be ignored by the media.              Furthermore, the

press      understood    that    defense      counsel     attempted      to

discredit the government’s witnesses when they took the

stand.      A cursory overview of the Twitter feed, which was

created in real-time without the aid of extrajudicial

comments, reveals as much.



      E.    The Court’s Resolution

      The court declined to grant the government’s proposed

gag   order    because    it    was    not   the    least   restrictive

alternative and it would not have been fully effective in

curbing trial publicity.              Instead, the court adopted a



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middle-ground     approach:        instructing        the    attorneys     to

follow   the     guidelines        embodied      in     Alabama    Rule    of

Professional Conduct 3.6.                 The court emphasized that

comments     about     a   witness’s           credibility        would    be

disfavored and presumptively prejudicial.

      “Because    of   their   legal          training,     attorneys     are

knowledgeable          regarding              which         extrajudicial

communications are likely to be prejudicial.”                       Foxman,

939   F.2d   at   1515     n.18.     The       court,     therefore,      was

confident that the attorneys in this litigation were

capable of following Rule 3.6.                 Indeed, defense counsel

still spoke to the press during the retrial, but did not

repeat the incendiary comments about the government’s

witnesses that were made at the first trial.                       Attorney

compliance with state bar rules provides a legitimate

alternative to more restrictive gag orders.

                               *    *     *

      A gag order is a prior restraint on speech.                  As such,

the court engaged in a rigorous First Amendment inquiry.



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Because the government’s proposed gag order targeted only

the attorneys and not the defendants or the media, the

court had to determine whether extrajudicial comments

created a substantial likelihood of material prejudice to

the proceedings.              Furthermore, a gag order had to be

narrowly tailored and could only be granted if less

burdensome alternatives were ineffective.

      The       court    declined     to   impose     the   government’s

proposed gag order.             The court, however, attempted to

strike      a     balance      between     defense    counsel’s      First

Amendment rights and the government’s interest in a fair

trial.

      Accordingly, rather than granting the government’s

motion      for    a    gag   order   (Doc.   No.    2145),   the    court

employed the less restrictive alternative of requiring

the   attorneys         and   their   trial   teams    to   comply   with

Alabama Rule of Professional Conduct 3.6.                     The court

found that the Rule 3.6 alternative worked well.

      DONE, this the 14th day of March, 2012.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
